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PEB: USAO 2017R00719


                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                            CRIMINAL NO.          ELH-21-022

                v.                                   (Conspiracy to Commit Wire Fraud,
                                                     18 U.S.C. §§1343 & 1349); Aggravated
 ROBERT LEE SNOWDEN, JR.,                            Identity Theft, 18 U.S.C. § 1028(A);
                                                     Aiding and Abetting, 18 U.S.C. § 2)
               Defendant.


                                            INFORMATION

                                         COUNT ONE
                                     (Wire Fraud Conspiracy)

        The United States Attorney for the District of Maryland charges that:

At all times relevant to this Indictment:

        1.       Defendant ROBERT LEE SNOWDEN, JR. (“SNOWDEN”) was a resident of

Maryland.

       Manner and Means of the Conspiracy and the Scheme and Artifice to Defraud

        2.       It was part of the conspiracy and scheme and artifice to defraud that SNOWDEN

and persons known and unknown to the United States Attorney, would and did use the names,

social security numbers, and other personal identifying information of various individual victims,

without their consent, to obtain fraudulent Supplemental Nutrition Assistance Program

(“SNAP”) benefits from the Maryland Department of Human Resources (DHR).

        3.       It was further part of the conspiracy that SNOWDEN and others known and

unknown to the United States Attorney sold the fraudulently obtained SNAP benefits to others

for the purchase of consumer goods.

        4.       It was further part of the conspiracy that SNOWDEN and others known and

unknown to the United States Attorney used the fraudulently obtained SNAP benefits to


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purchase consumer goods for the conspirators’ own use.

                                           The Charge

       5.      From in or about 2013, and continuing until in or about July 2020, in the District

of Maryland, the defendant,

                               ROBERT LEE SNOWDEN, JR.,

conspired with others known and unknown to the Grand Jury, to knowingly and willfully execute

and attempt to execute a scheme and artifice to defraud financial institutions, businesses and

individual victims, and to obtain money and property by means of materially false and fraudulent

pretenses, representations and promises and, for the purpose of executing the scheme, caused to

be transmitted by means of wire communication in interstate and foreign commerce certain

signals and sounds, in violation of Title 18, United States Code, Section 1343.

18 U.S.C. § 1343 & 1349
18 U.S.C. § 2




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                                        COUNT TWO
                                   (Aggravated Identity Theft)

       The United States Attorney for the District of Maryland further charges that:

       From in or about 2013, and continuing until in or about July 2020, in the District of

Maryland, the defendant,

                               ROBERT LEE SNOWDEN, JR.,

did, during and in relation to a felony enumerated in 18 U.S.C. § 1028A(c), knowingly transfer,

possess, and use, without lawful authority, a means of identification of other persons, knowing that

the means of identification belonged to other persons; to wit, the defendant used and attempted to

use the means of identification of over 200 individuals to unlawfully obtain SNAP benefits during

and in relation to wire fraud conspiracy under 18 U.S.C. § 1349, as charged in Count One.


18 U.S.C. § 1028A(a)(1) and (c)(5)
18 U.S.C. § 2




                                              ________________________________________
                                              Jonathan F. Lenzner
                                              Acting United States Attorney


Date: February 17, 2021




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